Case 2:04-cr-20119-SH|\/| Document 66 Filed 04/21/05 Page 1 of 2 Page|D 92

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IN THE UNITED sTATEs DISTRICT coURT
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W.D. oF TN, Msv'.PHiS

UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20119-01-Ma

RONDA WHITE,

~_/~_,V~_,V~._/-_/\_/-_/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Tbis cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., With a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period froul Marcb. 25, 2005 througb_ May 13, 2005 is
excludable under 18 U.S.C. § 3161(h)(8){B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

ib;i::f;_ day of April, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

IT IS SO ORDERED this

 

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Honorable Samuel Mays
US DISTRICT COURT

